Case 1:19-cr-00334-LMB Document 72 Filed 07/22/20 Page 1 of 12 PagelD# 352

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

 

 

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Alexandria Division 20 JUL 22 P $9
+ ERK US DISTRICT COURT
ALEXANDRIA. VIRGINIA
UNITED STATES OF AMERICA (UNDER SEAL)
v. . No. 1:19-CR-334 i L £
XIZHI LI, Hon. Leonie M. Brinkema JUL 2 2 2020
Defendant.

 

 

 

CLERK, U.S. DISTRICT COURT
ALEXANDRIA, VIRGINIA

 

 

GOVERNMENT’S RESPONSE TO DEFENDANT LV’S MOTION FOR A FARMER
HEARING (DKT. 68) AND GOVERNMENT’S MOTION TO DISMISS

The United States of America, by and through undersigned counsel, respectfully moves
this Court to dismiss Defendant Li’s Motion for a Farmer Hearing because a Farmer hearing (more
commonly referred to as a Jones-Farmer hearing) is only applicable when there are assets to which
a defendant has ownership that are currently seized or restrained. There are no assets in this case
that are currently seized or restrained and, thus, there are no assets to release. Even if the asset
raised by the Defendant was seized or restrained, the Defendant has failed to fulfill his burden to
qualify for a hearing such that, otherwise, a denial of the Defendant’s motion is required. The
Defendant is not entitled to a Jones-Farmer hearing.

I. Relevant Procedural History

 

On about April 26, 2019, the United States Attorney’s Office in the Western District of
Tennessee filed a civil forfeiture action against funds, approximately $617,524.24 (the funds at
issue), that were seized from a Compass BBVA account ending 8084 (2:19-cv-02265-MSN-tmp;

Dkt 1) pursuant to a federal seizure warrant issued in the Western District of Tennessee. The
Case 1:19-cr-00334-LMB Document 72 Filed 07/22/20 Page 2 of 12 PagelD# 353

United States Attorney’s Office in the Western District of Tennessee filed a motion for default
judgment on January 7, 2020 (2:19-cv-02265-MSN-tmp; Dkt. 15), which was granted on January
8, 2020 (2:19-cv-02265-MSD-tmp; Dkt. 18).

On or about November 7, 2019, the United States Attorney’s Office for the Eastern District
- of Virginia and the Money Laundering and Asset Recovery Section presented an Indictment to a
grand jury in the Eastern District of Virginia which returned a true bill as to three counts as well
as a Forfeiture Notice, the current matter before the Court. Dkt. 1. Count One charges a
conspiracy to distribute five kilograms or more of cocaine in violation of 21 U.S.C. §§ 841 and
846. Id. Count 2 charges conspiracy to distribute five kilograms or more of cocaine knowing
and intending that it would be unlawfully imported into the United States in violation of 21 U.S.C.
§§§ 959, 960 and 963. Jd. Count 3 charges a conspiracy to commit money laundering in
violation of 18 U.S.C. § 1956(h). The Forfeiture Notice includes a request for a money judgment
in the amount of at least $30,000,000, and, in terms of actual assets, listed funds in multiple bank
accounts, including the funds at issue that Defendant specifically cites in his motion. Defense
Motion: 1, hereinafter “DM: page number.”

Defendant arrived in the United States from Mexico on or about December 18, 2019. Dkt.
10. On June 12, 2020, the Government filed a motion to dismiss paragraphs (b) and (c) of the
forfeiture notice that relate to the funds at issue after discovering that there was no seized asset,
because the funds at issue had already been forfeited in the Western District of Tennessee. Dkt.
56. The Court granted the motion on June 12, 2020. Dkt. 58. The defendant’s instant motion

was filed on July 13, 2020. Dkt. 68.
Case 1:19-cr-00334-LMB Document 72 Filed 07/22/20 Page 3 of 12 PagelD# 354

Il. Motion to Dismiss Defendant Li’s Motion for a Farmer Hearing

A motion for the pre-trial release of seized or restrained property is governed by a series of
cases including United States v. Farmer, 274 F.3d 800 (4th Cir. 2001), United State v. Jones, 160
F.3d 641 (10th Cir. 1998), and Kaley v. United States, 571 U.S. 320 (2014).' However, the motion
must by definition be premised upon the fact that there is, in fact, property that has been, and
continues to be, seized or otherwise restrained by the Government. The purpose of pretrial seizure
or restraint is to ensure that the property is still available when forfeiture proceedings are
completed. See 21 U.S.C. § 853(e)(1) (restraint in criminal forfeiture); 18 U.S.C. § 983q)(1)
(restraint in civil forfeiture). Where the legal process has concluded, and the property forfeited,
it is no longer restrained and Jones-Farmer does not apply.

In the case before the Court, the funds at issue were seized when a federal seizure warrant
was served in 2018. As explained in the Government’s motion to dismiss, the prosecutors
handling this matter in EDVA were unaware that the funds at issue were being forfeited in the
Western District of Tennessee at the time that this case was indicted and, upon learning that the
funds at issue were forfeited, moved to dismiss that portion of the Forfeiture Notice. Dkt. 56.
There is simply no seized or restrained property at this time relevant to the Defendant.

As the Court noted on June 12, 2020, the Defendant’s proper path forward is to address

this where the funds at issue were forfeited—the Western District of Tennessee.

 

' The Defendant cites to Luis v. United States, 136 S.Ct. 1083 (2016) in support of his theory that
he is entitled to a Jones-Farmer hearing. DM: 1. Luis stands for the proposition that a defendant
has the right to use untainted/innocent assets to pay for counsel. 136 S.Ct. at 1095. It, however,
does not discuss the framework within which a hearing is to be conducted or requirements that
must be met as delineated in Jones-Farmer, and therefore has no applicability to the Court’s

analysis of the present matter.
3
Case 1:19-cr-00334-LMB Document 72 Filed 07/22/20 Page 4 of 12 PagelD# 355

Well, look, your problem is this is an order from a different district.
If you’re objecting to an order issued in the Western District of
Tennessee, you need to file something there. I’m not going to
address it here. It’s moot as far as I’m concerned .... I can't reverse
another district judge's order and I'm not going to -- another judge’s
order. If you feel that the Western District made a mistake in not
getting -- not having evidence of notice to your client, that's where
you have to bring it, not here.

Status Conference Transcript: 4.
The Defendant tries to confer jurisdiction by citing to Republic National Bank of Miami v.
United States, 506 U.S. 80, 84 (1992). DM: 3, fn. 1. But that case concerned a civil-forfeiture
action where a bank unsuccessfully asserted a claim against in rem property. Jd. at 82-83. The
Court of Appeals ruled that it did not have jurisdiction because the proceeds from the sale of the
property were placed in the Assets Forfeiture Fund of the United States Treasury. Jd. The
Supreme Court rejected that claim. Jd. at 93. This case simply has no application to the current
matter.”

III. Even Assuming Jurisdiction, the Defendant Still Fails to Meet His Burden to Qualify
for a Jones-Farmer Hearing

A. The Jones-Farmer Rule

 

2 The Government notes that the Defendant filed an interlocutory appeal to the Fourth Circuit
with respect to this Court’s order dismissing subparagraphs (b) and (c) from the Forfeiture
Notice. The instant motion seeks to obtain all or some of those same assets. The Government
respectfully requests that this Court reserve its judgement on the instant motion until the
interlocutory appeal has been resolved. See United States v. Montgomery, 262 F.3d 233, 239
(4th Cir. 2001) (“Ordinarily, an appeal confers jurisdiction on the court of appeals and divests
the district court of its control over those aspects of the case involved in the appeal.”) (internal
quotation marks and citation omitted) (emphasis added). To that end, the Government plans to
file a motion to dismiss the pending interlocutory appeal as a matter not properly before the

appellate court.
4
Case 1:19-cr-00334-LMB Document 72 Filed 07/22/20 Page 5 of 12 PagelD# 356

It is well-established that there is no automatic right to a pre-trial hearing where a defendant
may demand the release of seized or restrained property subject to forfeiture. To the contrary, if
the property has been seized or restrained based on a finding of probable cause, a defendant must
make two showings in order to be entitled to a hearing: (1) that the continued unavailability of
the property is infringing on his Sixth Amendment right to have counsel of his choice represent
him in a criminal case; and (2) that there is reason to believe that the court and/or the grand jury
erred in making the probable cause finding that led to the seizure or restraint of his property. This
is commonly known as the Jones-Farmer rule. See Jones, 160 F.3d, at 647 (defendant has initial
burden of showing that he has no funds other than the restrained assets to hire private counsel, and
that there is bona fide reason to believe the restraining order should not have been entered);
Farmer, 274 F.3d, at 804-05 (following Jones; same two-part test applies where property the
defendant says he needs to hire counsel in criminal case has been seized or restrained in related
civil forfeiture case).

Jones-Farmer reflects the need to balance the Government’s right to avoid the premature
disclosure of its evidence and witnesses prior to trial against the defendant’s right to have access
to his property when he needs it to preserve his constitutional right to counsel. See Jones, 160 F.3d,
at 647; United States v. Kielar, 791 F.3d 733, 739-40 (7th Cir. 2015) (defendant has no right to a
post-restraint hearing unless he demonstrates with reliable evidence that he lacks other funds with
which to retain counsel); Kaley, 571 U.S., at 353 (“To even be entitled to the hearing, defendants
must first show a genuine need to use the assets to retain counsel of choice”) (Roberts, C.J.,
dissenting). See generally, Stefan D. Cassella, Asset Forfeiture Law in the United States (2d ed.

2013), § 17-6 (explaining the Jones-Farmer rule).
Case 1:19-cr-00334-LMB Document 72 Filed 07/22/20 Page 6 of 12 PagelD# 357

In addition, even if he makes that showing, the defendant must show that there is reason to
believe that the court and/or the grand jury erred in finding probable cause to believe that the
property was subject to forfeiture. See United States v. Wijetunge, 2015 WL 6605570, at *10 (E.D.
La. 2015) (assuming arguendo defendant could make the Sixth Amendment showing, but denying
the request for the hearing because he could not satisfy the second Jones-Farmer requirement);
United States vy. Peppel, 2008 WL 687125, at #2 & *6 (S.D. Ohio 2008) (defendant satisfies the
first prong of Jones but he is not entitled to probable cause hearing because he cannot satisfy the
second prong; there was no reason to believe the grand jury erred in finding that the restrained
property was traceable to criminal proceeds); United States v. St. George, 241 F. Supp. 2d 875,
878-80 (E.D. Tenn. 2003) (defendant must make threshold showing that she lacks alternative
source of funds to retain counsel and that there is reason to believe there is no probable cause for
the forfeiture of the restrained property; denying hearing to defendant who failed to make second
showing). Thus, if a defendant cannot satisfy both of the Jones-Farmer requirements, his or her
objection to the Government’s attempt to forfeit property must wait until he or she has been
convicted and the Government seeks the entry of a forfeiture order in the forfeiture phase of the
case. See Fed. R. Crim. P. 32.2(b).

B. The Defendant Failed to Establish a Genuine Need for the Funds at Issue

The Defendant’s motion asserts that

The entirety of Defendant’s accessible assets has been restrained by
the Government in the seizure followed by the default forfeiture of
the $617, 524.24 seized from his BBVA account ending in 8084.

Defendant requires those forfeited funds in order to defend the
charges that bring him before this Court.

DM: 6. This statement, without more, is insufficient to establish the genuine need as required.

6
Case 1:19-cr-00334-LMB Document 72 Filed 07/22/20 Page 7 of 12 PagelD# 358

In Keilar, the court noted that the defendant “has offered no documentary evidence, other than an
unsubstantiated affidavit, to demonstrate that the restrained assets were needed to conduct his
defense.... Mr. Keilar's one-and-a-half-page affidavit does not provide enough information, much
less enough reliable information, to allow the district court to make this finding.” 791 F.3d at
739-740.
In a summary of applicable cases on the subject, the D.C. Circuit Court of Appeals noted:
Every court that has addressed the issue has found that a defendant's
merely conclusory allegation that he lacks the funds to retain
counsel of choice is insufficient ... in order to obtain a hearing the
defendant must present some evidence that he will be deprived of
counsel of choice if he cannot access the seized assets.
United States v. Emor, 794 F.Supp.2d. 143, 149 (D.C. Cir. 2011) (citing Jones and Farmer).
The Defendant’s bare assertion of need falls far short of the representations in Keilar, which the
Seventh Circuit found to be insufficient.
Further, the Defendant has retained three private attorneys during the pendency of this case.
Dkts. 23, 24, 47. Additionally, during the investigation law enforcement identified multiple
foreign businesses and multiple pieces of foreign real estate owned by the Defendant, and at least
one foreign bank account held by the Defendant. The Defendant has financial resources, which

he implicitly acknowledges when he argues about “accessible assets”. DM: 6.

C. The Defendant Failed to Establish Error on the Part of the Grand Jury that Made a
Finding of Probable Cause

In addition, the Defendant must also show that there is reason to believe that the grand jury
erred in finding probable cause to believe that the seized property was subject to forfeiture. The
Defendant asserts, relying on Farmer, that “[t]he Fourth Circuit held that, upon a showing of need

to use forfeitable assets for this purpose, a defendant is entitled to a pretrial hearing...” DM: 1.

7
Case 1:19-cr-00334-LMB Document 72 Filed 07/22/20 Page 8 of 12 PagelD# 359

This wholly ignores the second requirement of Jones-Farmer.* The failure to meet both

requirements means that the Defendant is not entitled to a hearing as a matter of law.

IV. Even Assuming Proper Jurisdiction and Showing of the Jones-Farmer Requirements,
Defendant Cannot Attack the Probable Cause Finding of the Grand Jury as to the
Substantive Offenses.

The Defendant is prohibited at a Jones-Farmer hearing from challenging the probable
cause finding for the substantive counts in an indictment. Kaley, 571 U.S. at320. In this context,
“A defendant has no right to judicial review of a grand jury's determination of probable cause to
think a defendant committed a crime.” Jd. at 333. To the extent that the Defendant voices
concerns about venue and the “largely cursory assertions” about the conspiracy, among other
matters, it is simply not permissible to use these as a basis for a Jones-Farmer hearing under
Supreme Court precedent. DM: 2.

V. Honeycutt does not Apply to a Jones-Farmer Hearing
The Defendant alleges that “Farmer relief can be granted on the law in light of the

Indictment’s violation of Honeycutt without resort to a factual hearing.” DM:5. This argument

misconstrues the applicability of Honeycutt to a Jones-Farmer scenario. See Honeycutt v. United

States, 137 S.Ct. 1626 (2017). As noted supra, Jones-Farmer applies to the pretrial seizure and

restraint of assets. Honeycutt, on the other hand, has nothing to do with the pretrial seizure or

restraint of assets. In fact, Honeycutt only comes into play at sentencing and only with regard to
the application of joint and several liability on a money judgment that will be fulfilled under the

provisions of 21 U.S.C. § 853. /d at 1635. The Forfeiture Notice to which the Defendant takes

issue is just that, a notice provision required by law so that a defendant is aware that the

 

39° 66

3 The words “error”, “grand”, and “jury” do not appear in the Defendant’s motion.
8
Case 1:19-cr-00334-LMB Document 72 Filed 07/22/20 Page 9 of 12 PagelD# 360

Government will seek a money judgement up to the amount listed in the Forfeiture Notice. See
Fed. R. Crim. P. 32.2(a).

Thus, in addition to not being applicable at this stage of the proceedings, Defendant’s
argument also misses the mark with regard to the application of 21 U.S.C. § 853. Defendant
mistakenly argues that because each part of the Forfeiture Notice refers to 21 U.S.C. § 853, all
forfeiture is bound by Honeycutt. DM: 2, 3. What that ignores is that the substitute asset
provision of 21 U.S.C. § 853 applies to several different theories of forfeiture. The Defendant
appears to concentrate solely on forfeiture premised on a proceeds theory. DM: 4. There are
five theories upon which assets are subject to forfeiture including proceeds, facilitating property,
and involved in assets depending on the violated statute, each of which is alleged in the Forfeiture
Notice as a theory of forfeiture in this matter. Dkt. 1; 21 U.S.C. § 853(a); 18 U.S.C. § 982(a)(1).

One basis for forfeiture alleged in the Indictment is that property at issue is “involved in”
money laundering and the defendant served as a courier, or in the case of the Defendant as a leader
who coordinated the couriers, such that Honeycutt does not apply at all. Dkt. 1; 18 U.S.C.
§ 982(b)(2); United States v. Kenner, 2020 WL 1148671, at *12 (E.D.N.Y. Mar. 10, 2020) (citing
United States v. Miller, No. 17-CR-213, 2019 WL 6792762, at *5 (E.D. Va. Dec. 12, 2019)).*
Under 18 U.S.C. § 982(b)(2):

The substitution of assets provisions of [subsection 853(p)] shall not
be used to order a defendant to forfeit assets in place of the actual
property laundered where such defendant acted merely as an

intermediary who handled but did not retain the property in the
course of the money laundering offense unless the defendant, in

 

4 While the Miller decision indicates that Honeycutt does not apply to any forfeiture under 18
U.S.C. § 982, consistent with DOJ policy on Honeycutt matters, the United States is only arguing
that involved in money laundering which falls under the application of 18 U.S.C. § 982(b)(2) is
exempt from the application of Honeycutt.

9
Case 1:19-cr-00334-LMB Document 72 Filed 07/22/20 Page 10 of 12 PagelD# 361

committing the offense or offenses giving rise to the forfeiture,

conducted three or more separate transactions involving a total of

$100,000 or more in any twelve month period.”
Id (Emphasis added.). In the instant case, the Defendant, as a leader, coordinated the movement
of, as an exceptionally conservative amount, $30,000,000 during the course of this conspiracy and,
which in all instances related to more than three trips exceeding $100,000 in any twelve-month
period of the conspiracy. Defendant’s argument about personally obtaining proceeds is
inapposite. DM: 4. Honeycutt simply does not apply to this theory of forfeiture. Further,
forfeiture under 18 U.S.C. § 982(b)(2) makes a defendant responsible for the amount of money
laundered, not just proceeds obtained as a result of laundering money.

The Defendant argues that the Government’s theory for a money judgment is wrong as a
matter of law and, therefore, the funds should be released. DM: 4-5. Ifthe Defendant disagrees
about the theory of forfeiture and the money judgment, that is a matter that is tried to this Court as
part of the forfeiture proceedings, not as part of a Jones-Farmer hearing. Fed. R. Crim P.
§ 32.2(b)(1).

VI. Conclusion
WHEREFORE, the Government requests that the motion be dismissed as there are no
assets currently seized or restrained pretrial.
Respectfully submitted,
G. Zachary Terwilliger
United States Attorney
Eastern District of Virginia
Deborah Connor, Chief
Money Laundering and Asset Recovery

Section, Criminal Division
U.S. Department of Justice

10
Case 1:19-cr-00334-LMB Document 72 Filed 07/22/20 Page 11 of 12 PagelD# 362

By:

/s/ Kerry Blackburn AY
Kerry Blackburn

Oklahoma Bar (22918)

Trial Attorney

Money Laundering and Asset Recovery
Section

Criminal Division

U.S. Department of Justice
Kerry.Blackburn2(@usdoj.gov

 

David A. Peters
Assistant United States Attorney
Eastern District of Virginia

11
Case 1:19-cr-00334-LMB Document 72 Filed 07/22/20 Page 12 of 12 PagelD# 363

Certificate of Service

I certify that on July 22, 2020, I filed the foregoing brief with the Clerk of the Court, and

sent an electronic copy to counsel for the defendant.

 

By:

 

David A. Peters
Assistant United States Attorney
Eastern District of Virginia
2100 Jamieson Avenue
Alexandria, Virginia 22314
(703) 299-3700
David.Peters@usdoj.gov

12
